         Case 2:08-cr-00420-KJM-KJN Document 90 Filed 09/24/12 Page 1 of 1


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 6               IN THE UNITED STATES DISTRICT COURT FOR THE

 7                      EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,

10                    Plaintiff,            CR. NO. S-08-0420 EJG

11               v.                         ORDER DIRECTING UNITED STATES
                                            TO FILE RESPONSE
12   IVAN QUINTERO JIMENEZ,

13                  Defendant.
     _____________________________/
14

15        Defendant, a federal prisoner proceeding pro se, has filed a

16   motion for return of property, pursuant to Federal Rule of

17   Criminal Procedure 41(g), seeking a cell phone and $1,367 in

18   currency.    The government is directed to file a response to the

19   motion within 30 days of the filing of this order.         Defendant may

20   file a reply within 30 days after service of the government’s

21   response.    The matter will stand submitted upon receipt of the

22   final brief.

23        IT IS SO ORDERED.

24   Dated: September 21 , 2012

25                                    /s/ Edward J. Garcia
                                      U. S. DISTRICT JUDGE
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